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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 DISTRICT OF NEVADA

 Case number (if known)                                                                     Chapter 11
                                                                                                                                               Check if this an
                                                                                                                                               amended filing




Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                                            12/15
Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin a case
against a non-individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If more space
is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor's name and case number (if known).

 Part 1:       Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed
 1. Chapter of the Bankruptcy                 Check one:
    Code
                                                           Chapter 7
                                                           Chapter 11
 Part 2: Identify the Debtor
  2. Debtor's name     J & J Consulting Services, Inc.

 3. Other names you
    know the debtor
    has used in the last
    8 years

      Include any
      assumed names,
      trade names, or
      doing business as
      names.

 4. Debtor's federal Employer                     Unknown
    Identification Number (EIN)
                                              EIN

  5. Debtor's address             Principal place of business                                                  Mailing address, if different
                                  9 Sky Arc Court                                                                    2700 East Sunset Road
                                  Number                  Street                                                     Number           Street
                                                                                                                     Suite 9
                                                                                                                     P.O. Box
                                  Henderson                                    NV           89012                    Las Vegas                     NV              89008
                                  City                                         State       Zip Code                  City                          State          Zip Code

                                                                                                                     Location of principal assets, if different from principal
                                  Clark County                                                                       place of business
                                  County
                                                                                                                     Number       Street


                                                                                                                     City                         State           Zip Code


 6.    Debtor's website (URL)

 7.    Type of debtor             Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
                                  Partnership (excluding LLP)
                                  Other type of debtor. Specify:
 8. Type of debtor's            Check one:
    business
                                   Health Care Business (as defined in 11 U.S.C. § 101(27A)

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 Debtor        J & J Consulting Services, Inc.                                                                         Case number (if known)

                                   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)
                                   Railroad (as defined in 11 U.S.C. § 101(44)
                                   Stockbroker (as defined in 11 U.S.C. § 101(53A)
                                   Commodity Broker (as defined in 11 U.S.C. § 101(6)
                                   Clearing Bank (as defined in 11 U.S.C. § 781(3)
                                   None of the types of business listed.
                                   Unknown type of business.

 9. To the best of                  No
    your knowledge,                 Yes. Debtor                                                                               Relationship
    are any
    bankruptcy cases                                  District                               Date filed                       Case number, if known
    pending by or
                                                                                                          MM / DD / YYYY
    against any
    partner or affiliate
    of this debtor?

                                                      Debtor                                                                  Relationship
                                                      District                               Date filed                       Case number, if known
                                                                                                          MM / DD / YYYY

 Part 3: Report About the Case
 10. Venue             Check one:

                                    Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of business, or principal assets
                                   in this district longer than in any other district.
                                    A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.


 11.    Allegations             Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                At least one box must be checked:

                                    The debtor is generally not paying its debts as they become due, unless they are in the subject of a bona fide dispute as to liability
                                   or amount.
                                    Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or agent appointed or authorized to take
                                   charge of less than substantially all of the property of the debtor for the purpose of enforcing a lien against such property, was
                                   appointed or took possession.

 12. Has there been a               No
     transfer of any                Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy Rule 1003(a).
     claim against the
     debtor by or to
     any petitioner?

 13. Each petitioner's claim Name of petitioner                                               Nature of petitioner's claim                            Amount of the claim
                                                                                                                                                      above the value of any
                                                                                                                                                      lien
                                        SEE ATTACHED                                                                                                    $
                                                                                                                                                        $
                                                                                                                                                        $
                                                                                                                   Total of petitioners' claims $              1,824,000.00
                                        If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's
                                        name and the case number, if known, at top of each sheet. Following the format of this form,
                                        set out the information required in Parts 3 and 4 of the form for each statement under penalty
                                        of perjury set out in Part 4 of the form, followed by each additional petitioner's (or
                                        representative's) signature, along with the signature of the petitioner's attorney.

 Part 4 Request for Relief
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a petitioning creditor is a
corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a foreign representative appointed in a foreign
proceeding, attach a certified copy of the order of the court granting recognition.

I have examined the information in this document and have a reasonable belief that the information is true and correct.


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  Debtor       J & J Consulting Services, Inc.                                                                             Case number (if known)

      Petitioners or Petitioners' Representative                                                  Attorneys


  Name and mailing address of petitioner
  Anthony Bonifazio                                                                                   Samuel A. Schwartz, Esq.
  Name                                                                                                Printed name

  15 Holly Tree Court                                                                                 Schwartz Law, PLLC
  Number           Street                                                                             Firm name, if any
  Henderson, Nevada 89052                                                                             601 East Bridger Avenue
  City                                             State                  Zip Code                    Number      Street
                                                                                                      Las Vegas                                     NV            89101
  Name and mailing address of petitioner's representative, if any                                     City                                          State        Zip Code
                                                                                                      Contact phone        702-385-5544             Email saschwartz@nvfirm.com
  Name
                                                                                                      Bar number      10985

                                                                                                      State           NV
  Number           Street

  City                                             State                  Zip Code

  I declare under penalty of perjury that the foregoing is true and correct.
  Executed on       3/17/2022                                                                         /s/ Samuel A. Schwartz
                     MM / DD / YYYY                                                                   Signature of attorney
                                                                                                      Date signed      03/17/2022
                                                                                                                       MM / DD / YYYY
  Signature of petitioner or representative, including representative's title




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  Debtor        J & J Consulting Services, Inc.                                                                            Case number (if known)

      Petitioners or Petitioners' Representative                                                  Attorneys


  Name and mailing address of petitioner
  Keith Ozawa                                                                                         Samuel A. Schwartz, Esq.
  Name                                                                                                Printed name

  4105 Freel Peak Ct                                                                                  Schwartz Law, PLLC
  Number           Street                                                                             Firm name, if any
  Las Vegas, NV 89129                                                                                 601 East Bridger Avenue
  City                                             State                  Zip Code                    Number      Street
                                                                                                      Las Vegas                                     NV            89101
  Name and mailing address of petitioner's representative, if any                                     City                                          State        Zip Code
                                                                                                      Contact phone        702-385-5544             Email saschwartz@nvfirm.com
  Name
                                                                                                      Bar number      10985

                                                                                                      State           NV
  Number           Street

  City                                             State                  Zip Code

  I declare under penalty of perjury that the foregoing is true and correct.
  Executed on       3/14/2022                                                                         /s/ Samuel A. Schwartz
                     MM / DD / YYYY                                                                   Signature of attorney
                                                                                                      Date signed      03/14/2022
                                                                                                                       MM / DD / YYYY
  Signature of petitioner or representative, including representative's title




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  Debtor       J & J Consulting Services, Inc.                                                                             Case number (if known)

      Petitioners or Petitioners' Representative                                                  Attorneys


  Name and mailing address of petitioner
  Janelle Ozawa                                                                                       Samuel A. Schwartz, Esq.
  Name                                                                                                Printed name

  4105 Freel Peak Ct                                                                                  Schwartz Law, PLLC
  Number           Street                                                                             Firm name, if any
  Las Vegas, NV 89129                                                                                 601 East Bridger Avenue
  City                                             State                  Zip Code                    Number      Street
                                                                                                      Las Vegas                                     NV            89101
  Name and mailing address of petitioner's representative, if any                                     City                                          State        Zip Code
                                                                                                      Contact phone        702-385-5544             Email saschwartz@nvfirm.com
  Name
                                                                                                      Bar number      10985

                                                                                                      State           NV
  Number           Street

  City                                             State                  Zip Code

  I declare under penalty of perjury that the foregoing is true and correct.
  Executed on       3/14/2022                                                                         /s/ Samuel A. Schwartz
                     MM / DD / YYYY                                                                   Signature of attorney
                                                                                                      Date signed      03/14/2022
                                                                                                                       MM / DD / YYYY
  Signature of petitioner or representative, including representative's title




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  Debtor        J & J Consulting Services, Inc.                                                                            Case number (if known)

      Petitioners or Petitioners' Representative                                                  Attorneys


  Name and mailing address of petitioner
  Brian Schumann                                                                                      Samuel A. Schwartz, Esq.
  Name                                                                                                Printed name

  6250 Paseo Elegancia                                                                                Schwartz Law, PLLC
  Number           Street                                                                             Firm name, if any
  Carlsbad CA 92009                                                                                   601 East Bridger Avenue
  City                                             State                  Zip Code                    Number      Street
                                                                                                      Las Vegas                                     NV            89101
  Name and mailing address of petitioner's representative, if any                                     City                                          State        Zip Code
                                                                                                      Contact phone        702-385-5544             Email saschwartz@nvfirm.com
  Name
                                                                                                      Bar number      10985

                                                                                                      State           NV
  Number           Street

  City                                             State                  Zip Code

  I declare under penalty of perjury that the foregoing is true and correct.
  Executed on
                    3/15/2022
                                                                                                      /s/ Samuel A. Schwartz
                     MM / DD / YYYY                                                                   Signature of attorney
                                                                                                      Date signed      03/14/2022
                                                                                                                       MM / DD / YYYY
  Signature of petitioner or representative, including representative's title




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  Debtor       J & J Consulting Services, Inc.                                                                             Case number (if known)

      Petitioners or Petitioners' Representative                                                  Attorneys


  Name and mailing address of petitioner
  Darius F. Rafie                                                                                     Samuel A. Schwartz, Esq.
  Name                                                                                                Printed name

  10781 W. Twain Avenue                                                                               Schwartz Law, PLLC
  Number           Street                                                                             Firm name, if any
  Las Vegas, Nevada 89135                                                                             601 East Bridger Avenue
  City                                             State                  Zip Code                    Number      Street
                                                                                                      Las Vegas                                     NV            89101
  Name and mailing address of petitioner's representative, if any                                     City                                          State        Zip Code
                                                                                                      Contact phone        702-385-5544             Email saschwartz@nvfirm.com
  Name
                                                                                                      Bar number      10985

                                                                                                      State           NV
  Number           Street

  City                                             State                  Zip Code

  I declare under penalty of perjury that the foregoing is true and correct.
  Executed on       3/14/2022                                                                         /s/ Samuel A. Schwartz
                     MM / DD / YYYY                                                                   Signature of attorney
                                                                                                      Date signed      03/14/2022
                                                                                                                       MM / DD / YYYY
  Signature of petitioner or representative, including representative's title




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 Debtor        J & J Consulting Services, Inc.                                                                         Case number (if known)



 13. Each petitioner's claim Name of petitioner                                               Nature of petitioner's claim                                Amount of the claim
                                                                                                                                                          above the value of any
                                                                                                                                                          lien
                                        Anthony Bonifazio                                                                                                   $        200,000.00
                                        Keith Ozawa                                                                                                         $        210,000.00
                                        Janelle Ozawa                                                                                                       $        175,000.00
                                        Brian Schumann                                                                                                      $        600,000.00
                                        Darius F. Rafie                                                                                                     $        639,000.00
                                                                                                                             Total of petitioners' claims $        1,824,000.00




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